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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



UNITED STATES OF AMERICA,                          )   CASE NO. 1:05CR0327-1
                                                   )
         Plaintiff,                                )
                                                   )
vs   .                                             )   Judge John M. Manos
                                                   )
JOSE LUIS RODRIGUEZ,                               )
                                                   )
         Defendant.                                )   ORDER

         On November 9,2005, a multi-count Superseding Indictment was filed charging Jose

Luis Rodriguez, Defendant, with one (1) count of conspiracy to possess with intent to distribute a

controlled substance in violation of Title 21 of the United States Code, Section 846; one (1)

count of possession with intent to distribute or distribution of a controlled substance in violation

of Title 21 of the United States Code, Section 841(a)(l) & (b)(l)(C); one (1) count of possession

with intent to distribute or distribution of a controlled substance in violation of Title 21 of the

United States Code, Section 841(a)(l) & (b)(l)(B), and Title 18 of the United States Code,

Section 2; and twenty-four (24) counts of unlawful use of a communication facility to facilitate

acts constituting a felony under 21 U.S.C. 5 846, all in violation of Title 18 of the United States

Code, Section 2 and Title 21 of the United States Code, Section 843(b). (Docket No. 296.)
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        On December 9,2005, the above-captioned matter was referred to a United States

Magistrate Judge pursuant to General Order 99-49, with the consent of the parties, for the

purpose of accepting a change of plea. (Docket No. 339) At a hearing held on December 12,

2005, Defendant, accompanied by counsel, proffered a plea of guilty to Count 1 of the

Superseding Indictment. (Docket No. 35 1.)

        On December 9,2005, the Magistrate Judge issued a Report and Recommendation

documenting Defendant's plea. (Docket No. 353.) The Report indicates that Defendant was

advised of his rights and that the hearing otherwise complied with all requirements imposed by

the United States Constitution and Federal Criminal Procedure Rule 11. Finding that the plea

was made knowingly, intelligently, and voluntarily, the Magistrate recommends that this Court

accept and enter the Defendant's plea of guilty to Count 1 of the Superseding Indictment.

       Pursuant to General order 99-49, and absent any objections by the parties heretofore

made, the Court accepts and adopts the Report and Recommendation of the Magistrate Judge. In

doing so, the Court finds that the Defendant knowingly, intelligently, and voluntarily entered a

plea of guilty to the Count 1 of the Superseding Indictment, and that all of the requirements

imposed by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.

Therefore, the Court accepts the Defendant's plea and enters it accordingly. This mater is

referred to the Probation Office for pre-sentence investigation. Sentencing is scheduled for

March 7,2006 at 10:30 a.m.

       IT IS SO ORDERED.


Date: December 13,2005
                                                                                    GE
